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 6    ERIN KELLY

 7                                  UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 8                                       WESTERN DIVISION
 9
      ERIN KELLY,                                    ) Case No.: 2:14-cv-00160-JCG
                                                     )
10
                     Plaintiffs,                     )
                                                     )
11
              v.                                     ) VOLUNTARY DISMISSAL
                                                     )
12
      WEINERMAN & ASSOCIATES, LLC                    )
                                                     )
13
      INC.,          Defendant.                      )
                                                     )
14

15
                             VOLUNTARY DISMISSAL WITH PREJUDICE
16
              Plaintiff, ERIN KELLY, by and through her attorneys, KROHN & MOSS, LTD., hereby
17
      voluntarily dismisses the above-entitled case with prejudice.
18

19
      Dated: February 18, 2015                             KROHN & MOSS, LTD.
20

21
                                                           By:/s/ Ryan Lee, Esq.
22
                                                           Ryan Lee, Esq.
23
                                                           Attorney for Plaintiff

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                                          VOLUNTARY DISMISSAL
     Case 2:14-cv-00160-FMO-CW Document 20 Filed 02/18/15 Page 2 of 2 Page ID #:199



 1                                   CERTIFICATE OF SERVICE
 2           I hereby certify that on February 18, 2015, I electronically filed the foregoing Notice of
 3    Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said
 4    Notice was electronically submitted to all parties by the Court’s CM/ECF system.
 5

 6

 7                                         By:    /s/ Ryan Lee, Esq.
 8                                                Ryan Lee, Esq
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                                         VOLUNTARY DISMISSAL
